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statements or declarations, or obstruction of justice relating to your client' s obligations under this
Agreement shall constitute a breach of this Agreement. In the event of such a breach, your client
will not be allowed to withdraw your client's guilty plea.

       13.     Complete Agreement

        No agreements, promises, understandings, or representations have been made by the parties
or their counsel other than those contained in writing herein, nor will any such agreements,
promises, understandings, or representations be made unless committed to writing and signed by
your client, defense counsel, and an Assistant United States Attorney for the District of Columbia.

        Your client further understands that this Agreement is binding only upon the Criminal and
Superior Court Divisions of the United States Attorney ' s Office for the District of Columbia. This
Agreement does not bind the Civil Division of this Office or any other United States Attorney ' s
Office, nor does it bind any other state, local, or federal prosecutor. It also does not bar or
compromise any civil, tax, or administrative claim pending or that may be made against your client.

        If the foregoing tem1s and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than March
15 , 2024.

                                                       Sincerely yours,




                                                     ~~s~/t7~
                                                       United States Attorney



                                               By:
                                                       Allison K. Ethen
                                                       Assistant United States Attorney




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